                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                      Plaintiff,              )
                                              )
              v.                              )   Case No. 07-00157-05-CR-W-NKL
                                              )
KRAMMER DUFFIELD,                             )
                                              )   Date: March 25, 2008
                      Defendant.              )

                                      MINUTE SHEET

HONORABLE JOHN MAUGHMER presiding at Kansas City, Missouri.
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Nature of Proceeding: Change of Plea Hearing
Time: 2:33 p.m. - 2:55 p.m.
Plaintiff by: Rudy Rhodes                    Defendant by: Jackie Rokusek

Comments:

The defendant appeared to change his plea from not guilty to guilty to Count 1 of the
Superseding Indictment. The defendant was questioned by the Court regarding his physical and
mental condition. Defendant was advised of his rights, waiver of rights by a guilty plea and
maximum penalty. The defendant entered a guilty plea to Count 1 of the Superseding
Indictment. The Court will recommend to Judge Nanette Laughrey the defendant’s plea be
accepted. The Court ordered a Presentence Investigation Report.



Report: Donna Turner
By: Renea Kanies, Courtroom Deputy




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